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 6
     Attorneys for Defendant CMRE FINANCIAL SERVICES, INC.
 7
                            UNITED STATES DISTRICT COURT
 8
                         SOUTHERN DISTRICT OF CALIFORNIA
 9

10
     Dina St. George, on behalf of herself and ) CASE NO. 3:21-cv-01374-BEN-JLB
11   others similarly situated,                )
12
                                               ) NOTICE OF SETTLEMENT
                  Plaintiff,                   )
13                                             )
14
           vs.                                 )
                                               )
15   CMRE Financial Services, Inc.,            )
16
                                               )
                  Defendant.                   )
17                                             )
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                                               )
                                               )
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20
               PLEASE TAKE NOTICE that a settlement in this matter has been reached
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     between all parties. The parties anticipate that they will complete the settlement,
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     and file a stipulation of dismissal, within 60 days from the date of this notice. In
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     light of the settlement, the parties request that the Court take off calendar all future
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     hearing dates in this case.
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29
      {00162491;1}                             -1-                   NOTICE OF SETTLEMENT
                                                                   CASE 3:20-cv-02218-BEN-JLB
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 Case 3:21-cv-01374-BEN-JLB Document 51 Filed 11/17/21 PageID.105 Page 2 of 3


     DATED: November 17, 2021           CARLSON & MESSER LLP
 1

 2                                      By: s/ David J. Kaminski
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 6                                          CMRE FINANCIAL
 7
                                            SERVICES, INC.

 8
     DATED: November 17, 2021           HIRALDO PA
 9

10
                                        By: s/ Manuel S. Hiraldo
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11                                          mhiraldo@hiraldolaw.com
12
                                            Attorneys for Plaintiff,
                                            DINA ST. GEORGE
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     {00162491;1}                      -2-                 NOTICE OF SETTLEMENT
                                                         CASE 3:20-cv-02218-BEN-JLB
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 Case 3:21-cv-01374-BEN-JLB Document 51 Filed 11/17/21 PageID.106 Page 3 of 3



 1                              CERTIFICATE OF SERVICE
 2            I, David J. Kaminski, hereby certify that on this 17th day of November, 2021,
 3   a true and accurate copy of the foregoing NOTICE OF SETTLEMENT was filed

 4
     through the ECF system, which will send notification of such filing to the e-mail

 5
     addresses associated with this case.

 6                                                    /s/David J. Kaminski
 7
                                                      David J. Kaminski
                                                      CARLSON & MESSER LLP
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     {00162491;1}                              -3-                  NOTICE OF SETTLEMENT
                                                                  CASE 3:20-cv-02218-BEN-JLB
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